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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                    )
                                                          )   Chapter 11
                                                          )
PROMISE HEALTHCARE GROUP, LLC et al.,                     )   Case No. 18-12491 (CTG)
                                                          )
                            Debtors.                      )
                                                          )
                                                          )
SUCCESS HEALTHCARE 1, LLC and                             )
PROMISE HEALTHCARE, INC.,                                 )   Adv. No. 20-50769 (CTG)
                                                          )
                            Plaintiffs,                   )
                                                          )
         v.                                               )
                                                          )
SURGICAL PROGRAM DEVELOPMENT, LLC                         )
and BRENDAN BAKIR, individually,                          )
                                                          )
                            Defendants.                   )
                                                          )   Re: D.I. No. 60



                       CERTIFICATION OF COUNSEL REGARDING
                    STIPULATION EXTENDING PRETRIAL DEADLINES

         I, Stuart M. Brown, an attorney with DLA Piper LLP (US), as co-counsel to the Plaintiffs

in the above-captioned adversary case, hereby certify the following:

         1.     Robert Michaelson of Advisory Group, LLC, solely in his capacity as liquidating

trustee of the Promise Healthcare Group Liquidating Trust, in place of Success Healthcare 1, LLC

and Promise Healthcare, Inc., and Defendants Brendan Bakir, individually and Surgical Program

Development, LLC had previously agreed to pause discovery-related activity in the above-

captioned adversary proceeding in order to participate in a second mediation, which was held on

January 16, 2023.

         2.     The parties were ultimately unsuccessful in resolving this matter through the second

mediation. However, the Parties intend to continue discussions. Accordingly, the parties have
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entered into the Stipulation Extending Pretrial Deadlines [Adv. D.I. 60] (the “Stipulation”),

through which, among other things, the parties have agreed to extend certain dates and deadlines.

       WHEREFORE, the parties respectfully request that the Court enter the Stipulation, at the

earliest convenience of the Court.

Dated: February 27, 2023                    DLA PIPER LLP (US)
       Wilmington, Delaware
                                             /s/ Stuart M. Brown
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                                            Matthew S. Sarna (#6578)
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                                            Attorneys for the Plaintiffs




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